        Case 3:17-cr-00463-JO   Document 82    Filed 08/05/20   Page 1 of 6




BILLY J. WILLIAMS, OSB #901366
United States Attorney
District of Oregon
NATALIE K. WIGHT, OSB #035576
natalie.wight@usdoj.gov
Assistant United States Attorneys
1000 SW Third Avenue, Suite 600
Portland, Oregon 97204-2902
Telephone: (503) 727-1000
Attorneys for United States of America




                    UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON


UNITED STATES OF AMERICA                  3:17-cr-00463-JO

             v.                           GOVERNMENT'S SENTENCING
                                          MEMORANDUM
FONG LEE,

             Defendant.


      The United States submits the following sentencing memorandum for the

Court’s consideration. Defendant pled guilty to one count of possession of child

pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2). The

government and defendant jointly recommend a 41-month prison sentence

followed by a 20-year term of supervised release.



Government's Sentencing Memorandum                                            Page 1
        Case 3:17-cr-00463-JO    Document 82    Filed 08/05/20   Page 2 of 6




                          FACTUAL BACKGROUND

      The government concurs with the summary of facts in the Presentence

Report (PSR) and recommends the Court use the fact summary as a basis for

sentencing defendant.

      On or about December 5, 2017, in the District of Oregon, law enforcement

had contact with Defendant as part of regular surveillance at the Portland Amtrak

station. Defendant voluntarily consented to allow officers to search his bags,

which contained a substantial amount of currency and several digital devices.

Defendant also gave consent to allow law enforcement to search the digital

devices. He told the officers that they would find child pornography, which they

did. Defendant admitted to downloading child pornography and that he knew it

was illegal, but also expressed an unapologetic ignorance regarding the

international differences regarding adult sexual activity with minors. PSR ¶¶ 24-

27. Defendant was subsequently arrested and voluntarily began participation in

sex offender and mental health treatment.

       Defendant waived indictment, and on May 28, 2020, he pled guilty to a one-

count Information charging possession of child pornography, in violation of 18

U.S.C. §§ 2252A (a)(5)(B). The maximum penalty for a violation of 18 U.S.C. §

2252A(a)(5)(B) is 10 years of imprisonment, a fine up to $250,000, a term of

supervised release from five years to life, and a mandatory fee assessment of $100.


Government's Sentencing Memorandum                                               Page 2
        Case 3:17-cr-00463-JO     Document 82     Filed 08/05/20   Page 3 of 6




                      SENTENCING CONSIDERATIONS

I.    Legal Standard

      Although the sentencing guidelines are no longer binding, United States v.

Booker, 543 U.S. 220 (2005), they still serve as the “starting point” and “initial

benchmark” in every sentencing. Peugh v. United States, 133 S. Ct. 2072, 2080

(2013). The guidelines are a statutory factor that sentencing courts must consider

when imposing a sentence, 18 U.S.C. § 3553(a)(4), and “reflect a rough

approximation of sentences that might achieve § 3553(a)’s objectives.” United

States v. Rita, 551 U.S. 338, 350 (2007). The guidelines serve as a “lodestar” at

sentencing and “anchor” the Court’s discretion. Peugh, 133 S. Ct. at 2083-84.

      The remaining statutory considerations include the defendant’s history and

characteristics, the nature and seriousness of the offense, the need to provide just

punishment and adequate deterrence, the need to promote respect for the law, and

the need to protect the public from further crimes committed by the defendant. 18

U.S.C. § 3553(a)(1)-(2). Other factors include "the need to avoid unwarranted

sentencing disparities among defendants with similar records who have been found

guilty of similar conduct," 18 U.S.C. § 3553(a)(6); and, where applicable, the need

to provide restitution to any victims of the offense, 18 U.S.C. § 3553(a)(7). See

also Rita, 551 U.S. at 347-48.




Government's Sentencing Memorandum                                               Page 3
        Case 3:17-cr-00463-JO     Document 82    Filed 08/05/20   Page 4 of 6




      In United States v. Carty, 520 F.3d 984 (9th Cir. 2008), the Ninth Circuit,

sitting en banc, summarized the procedures a sentencing court must follow. The

Court must first correctly determine the applicable sentencing guideline range. Id.

at 991. The Court must also allow the parties to “argue for a sentence they believe

is appropriate,” and “consider the § 3553(a) factors to decide if they support the

sentence suggested by the parties.” Id. The Court may not presume the guidelines

are reasonable, and should not give them more or less weight than any other factor.

Id. The Court “must make an individualized determination based on the facts,”

and explain its sentence “sufficiently to permit meaningful appellate review.” Id.

at 991-92.

II.   Guidelines Application

      A.     Guidelines Calculation Summary

               Base Offense Level                                        18
               Use of computer                                           +2
               Images of prepubescent minors                             +2
               More than 600 images                                      +5
               Material involving infants/toddler                        +4
               Adjustment - Acceptance of Responsibility                 -3
               § 3553 factors                                            -4

                                  Adjusted Offense Level                 24
                               Criminal History Category                  I
                             Adjusted Guidelines Range:             51 - 63
                                                                    months




Government's Sentencing Memorandum                                              Page 4
        Case 3:17-cr-00463-JO    Document 82     Filed 08/05/20   Page 5 of 6




      B.     Sentencing Recommendation

      The government concurs with the guidelines computation as calculated in

the PSR, but the government recommends that an additional 4 level downward

variance pursuant to 18 U.S.C. § 3553 is appropriate in this case. This is an

unusual case that began in 2017, where Defendant was fully cooperative with law

enforcement and allowed a voluntary consent search of his digital devices. When

child pornography was located on the digital media, Defendant did not deny that he

had had been carrying child pornography with him in his belongings. Although it

was apparent Defendant had an obsession with child pornography, he was also

fixated on understanding the international differences and levels of stigma

associated with adolescent sexual conduct.

      Defendant has some mental health issues and, since the arrest, he has

participated in numerous sex offender and mental health treatment sessions.

Although Defendant had a major lapse that resulted in him absconding and

returning to his family in California, since his return, some progress has been

made. Defendant now understands that the children in the explicit photographs are

victims of rape and abuse, and his conduct must be punished. While the parties

agree that a 41-month jointly recommended sentence is appropriate, we also agree

that one of the most important elements of the Court’s sentence is an extended 20-

year term of supervision.


Government's Sentencing Memorandum                                                Page 5
        Case 3:17-cr-00463-JO     Document 82     Filed 08/05/20   Page 6 of 6




      Defendant still has more work to do with his counseling and therapy and we

expect he will voluntarily participate in rehabilitative programming during his

incarceration. The parties also support the standard and special conditions

recommended by U.S. probation that will help support Defendant, and protect the

community, once Defendant begins his term of supervised release.

      A recommended sentence of 41 months is sufficient, but not greater than

necessary, to comply with all the factors set forth in 18 U.S.C. § 3553(a), to

include, inter alia, defendant’s history and characteristics, the nature and

seriousness of the offense, the need to provide just punishment and adequate

deterrence, the need to promote respect for the law, and the need to protect the

public from further crimes committed by the defendant.

                                  CONCLUSION

      Therefore, the government jointly recommends a sentence of 41 months of

imprisonment, followed by a 20-year term of supervised release. The parties have

also agreed to a total restitution amount of $3000. The government will provide a

separate list to the Court of the victims and individual payment amounts.

Dated: August 5, 2020.                        Respectfully submitted,

                                              BILLY J. WILLIAMS
                                              United States Attorney
                                              /s/ Natalie K. Wight
                                              NATALIE K. WIGHT, OSB #035576
                                              Assistant United States Attorney


Government's Sentencing Memorandum                                               Page 6
